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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 Belinda Wheeler, individually and on           §
 Behalf of all others similarly situated,       §
                                                §
        Plaintiff,                              §                            Case No. 1:22cv763
                                                §
 v.                                             §                       Class Action Complaint
                                                §
 Panini America, Inc.,                          §                          Jury Trial Demanded
                                                §
        Defendant.                              §



               DECLARATION OF CHARLES E. PHIPPS IN SUPPORT OF
                    MOTION FOR PRO HAC VICE ADMISSION



       I, Charles E. Phipps, declare:
       1.      My full name is Charles Edward Phipps.
       2.      My office is located at 2200 Ross Ave., Suite 2800, Dallas, TX 75201. My office
telephone number is (214) 740-8000.
       3.      I am an attorney at law licensed to practice in the State of Texas (Texas Bar No.
00794457), in the State of New York (Bar No. 2912681) and in the State of Florida (Bar No.
1009860), the United States Patent and Trademark Office, the United States Supreme Court, the
United States Court of Appeals for the Fifth Circuit, the United States District Court for the
Northern District of Texas, the United States District Court for the Eastern District of Texas, the
United States District Court for the Southern District of Texas, the United States District Court
for the Western District of Texas, the United States District Court for the Southern District of
New York, and the United States District Court for the Eastern District of New York.
       4.      I have not been disciplined by any bar.
       5.      I have not been admitted pro hac vice in this Court within the last two years.




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                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                              Charles Edward Phipps

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 3rd day of November, 1995.

            I further certify that the records of this office show that, as of this date



                                              Charles Edward Phipps



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   8th day of June, 2022.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 9091C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
